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                                 U.S. BANKRUPTCY COURT
                                  District of South Carolina

Case Number: 18-05823-dd



                                        Consent Order



The relief set forth on the following pages, for a total of 3 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           06/24/2019




                                                   David R. Duncan
                                                   Chief US Bankruptcy Judge
                                                   District of South Carolina


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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA

In re:                                       )
                                             )       Case No. 18-05823-dd
                                             )       Chapter 7
Lather Construction, Inc.                    )
                                             )
               Debtor.                       )
                                             )
                                             )

            CONSENT ORDER GRANTING RELIEF FROM AUTOMATIC STAY

 This matter comes before the Court upon the request and motion of Richard and Rebecca Dreier,

 Yolanda Dreier, Jacob and Carla Emerson, John B. and Lori Gecy, Aaron and Stasha Grooms,

 Adam Grooms, AvaRae Hall, Michael and Cheyenne Johnson, Kenny and Kelsey Lopez, Dylan

 and Samantha Machado, Marvin and Maryalice Mamaril, Cory McDaniel, Thomas and Melissa

 McFeely, Michael and Karen Rodriguez, Sarmed and Jessica Shafi, James and Alayshia Smith,

 and Nicole Verstegen. (“Movants”), and D.R. Horton, Inc. for relief from the automatic stay

 applicable to this action for the purposes of pursuing the Debtor’s insurance coverage regarding

 claims asserted by the Movants and claims for contractual and equitable indemnity that will be

 asserted by D.R. Horton, Inc. in a lawsuit filed against the Debtor, and others, in the Court of

 Common Pleas for Beaufort County, Case No. 2018-CP-07-00911 (“State Action”). Movants and

 D.R. Horton, Inc. merely seek to pursue claims against the Debtor’s insurance coverage and do not

 desire to pursue deficiency claims against Debtor or its assets. The Court finds that the parties

 consent to allow the Court to grant the motion for relief from the automatic stay.

         NOW, THEREFORE, with the consent of Counsel for the Debtor and the Chapter 7 Trustee,

 it is ORDERED that the request and motion to lift the automatic stay is granted, and the Movants

 and D.R. Horton, Inc. are permitted to pursue the State Action claims against Debtor, for purposes

 of pursuing recovery under the Debtor’s liability insurance coverage.
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WE SO MOVE:

BEN TRAYWICK LAW FIRM, LLC                      Markham Law Firm, LLC

/s/Alexandra Scott Williams                     __/s/Sean Markham
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Alexandra Scott Williams (Fed ID No.            SC Bar # 70688
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Attorneys for the Plaintiffs

 WE SO CONSENT:                                 WE SO CONSENT:

 /s/ Michelle Vieira                            /s/ D. Nathan Davis
 Michelle Vieira                                D. Nathan Davis
 Chapter 7 Trustee                              Attorney for the Debtor
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WE SO CONSENT:
/s/ Rory D. Whelehan
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June 17, 2019; Charleston, South Carolina
